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 6
 7                      UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF WASHINGTON
 8
 9   UNITED STATES OF AMERICA,
10                             Plaintiff,
11    v.                                           Case No.: 4:21-CR-06004-SMJ
12
13   ARTURO TEJEDA-GOMEZ                           SUBSTITUTION OF COUNSEL
     ANDRES GUTIERREZ,
14                                                 FOR THE UNITED STATES
15                            Defendants.
16
           Michael D. Murphy, Assistant United States Attorney for the Eastern
17
     District of Washington, hereby substitutes as counsel of record on behalf of the
18
     United States of America, replacing Assistant United States Attorney, Ian L.
19
     Garriques.
20
21          Dated: November 1, 2021.
                                                 Vanessa R. Waldref
22
                                                 United States Attorney
23
24
                                                 s/ Michael D. Murphy__
25                                               Michael D. Murphy
26                                               Assistant United States Attorney
27
28


     Government’s Notice of Substitution – 1
